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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
UNITED STATES OF AMERICA,                                      :
                                                               :
                                    Government,                :     24 CR. 82 (RMB)
                                                               :
                  - against -                                  :       ORDER
                                                               :
                                                               :
KEONNE RODRIGUEZ,                                              :
                                                               :
                                    Defendant.                 :
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                 The initial appearance scheduled for Tuesday, May 14, 2024 at 2:00 P.M. will take
 place in Courtroom 17B.




Dated: May 8, 2024
       New York, NY



                                                              __________________________________
                                                                    RICHARD M. BERMAN
                                                                          U.S.D.J.
